Case: 1:11-cv-08808 Document #: 571 Filed: 11/26/23 Page 1 of 3 PageID #:22759
 Case: 1:11-cv-08808 Document #: 571 Filed: 11/26/23 Page 2 of 3 PageID #:22760




Nathan Blalock             NERA               Mr. Blalock is expected to testify as a
NERA Economic                                 summary witness regarding Plaintiffs’
Consulting                                    purchases of egg products, Urner Barry
1255 23rd St., NW                             data, and overcharges based on statements
Washington, DC                                made by Gene Gregory.
20037

Vinay Vallabh              Kellogg            Mr. Vallabh is expected to testify as a
412 N. Wells St.                              summary witness regarding Plaintiffs’
Chicago, IL 60654                             purchases of egg products close in time to
                                              the seven exports at issue and overcharges
                                              based on statements made by Gene
                                              Gregory.

Kelly Tobey                Kellogg            Ms. Tobey is expected to testify as a
1 Kellogg Square,                             summary witness regarding Plaintiffs’
Battle Creek, MI 49017                        purchases of egg products close in time to
                                              the seven exports at issue and overcharges
                                              based on statements made by Gene
                                              Gregory.

Douglas Keaton             Nestlé USA         Mr. Keaton is expected to testify as a
30003 Bainbridge Road                         summary witness regarding Plaintiffs’
Solon, OH 44139                               purchases of egg products close in time to
                                              the seven exports at issue and overcharges
                                              based on statements made by Gene
                                              Gregory.

David Tantlinger           Tantlinger &       Mr. Tantlinger is expected to testify as a
8391 Washington St         Associates         summary witness regarding Plaintiffs’
Chagrin Falls, OH 44023                       purchases of egg products close in time to
                                              the seven exports at issue and overcharges
                                              based on statements made by Gene
                                              Gregory.



November 26, 2023                         Respectfully submitted,

                                          Counsel for Plaintiffs Kraft Foods Global, Inc.,
                                          General Mills, Inc., Nestlé USA, Inc. and The
                                          Kellogg Company

                                           /s/ Brandon D. Fox
                                          Andrianna D. Kastanek
                                          Angela M. Allen
                                          Joel T. Pelz


                                          2
Case: 1:11-cv-08808 Document #: 571 Filed: 11/26/23 Page 3 of 3 PageID #:22761




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                                      3
